       Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION




CESIUMASTRO, INC.,
                                             Case No. 1:24-cv-00314-RP
     Plaintiff,

             v.

ERIK LUTHER and ANYSIGNAL, INC.,

     Defendants.



   PLAINTIFF CESIUMASTRO, INC.’S OPPOSED MOTION FOR AN ORDER
 PERMITTING EXPEDITED DISCOVERY AND SETTING BRIEFING SCHEDULE
          Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 2 of 13




       CesiumAstro, Inc. moves under Fed. R. Civ. P. 26(d)(1) for an order permitting expedited

discovery from Defendant Erik Luther and scheduling briefing on CesiumAstro’s forthcoming

Motion for Preliminary Injunction (the “PI Motion”). CesiumAstro is currently discussing agreed

expedited discovery with Defendant AnySignal, Inc. 1

I.    INTRODUCTION

       From the moment Luther resigned as a CesiumAstro executive, he did his best to hide his

misuse of company information and improper competition against his former employer.

CesiumAstro needs expedited discovery to overcome Luther’s attempts to delete evidence and

cover his tracks so that it can file its PI Motion to stop Luther’s unlawful acts.

       During his employment, Luther had access to confidential, proprietary, and trade secret

CesiumAstro materials, including related to confidential CesiumAstro investor information,

compiled customer data, detailed bid and pricing information, and technical specifications about

its software-defined radio (“SDR”) products. When he gave his resignation notice in August 2023,

Luther sought a waiver of his clear non-compete obligations, explicitly indicating his intentions to

compete with CesiumAstro and its SDR products with an unnamed company. When CesiumAstro

refused to waive its rights, Luther still departed—but CesiumAstro is now aware that when he did

so, he began a pattern of conduct that violated his non-compete obligations, misappropriated

company information, and attempted to wipe clean evidence of wrongdoing.

       Days before resigning in August 2023, Luther

                            AnySignal, a new competitor to CesiumAstro in the SDR space. Upon

resigning, he admits he reset his company iPad to factory settings, accessed many company files

on his way out, and refused to disclose the extent of his involvement with AnySignal.


1
  CesiumAstro reserves the right to move for expedited discovery from AnySignal if an agreement
is not reached between the parties.

                                                  1
         Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 3 of 13




       Luther’s obstructionism continued when CesiumAstro tried to remediate company

information in his possession. Despite pre-existing obligations to return company information,

Luther conditioned his compliance on extreme concessions—including demands that CesiumAstro

release him from any liability. When CesiumAstro declined, Luther stalled for months. When

Luther finally agreed to comply through a Forensic Inspection Protocol Agreement, Plassio Decl.

Ex. D (the “Protocol”), he only feigned compliance. He failed to provide a required privilege log

and shrouded documents by over-using “attorney eyes only” (“AEO”) designations. When

CesiumAstro identified numerous USB devices known to have been plugged into his company

laptop, he claimed he was unable to provide most of them. Notwithstanding his obfuscation,

CesiumAstro found hard evidence of his and AnySignal’s wrongdoing, including

                . And CesiumAstro has begun seeing evidence of AnySignal’s wrongful use of

its trade secrets—the brand-new company has brought similar SDR products quickly to market,

contacted a little-known CesiumAstro investor, and beat CesiumAstro’s confidential bid for at

least one project. This evidence and Luther’s obstructions left CesiumAstro no choice but to sue.

       Luther’s behavior since CesiumAstro sued has been more of the same. Right after filing,

CesiumAstro reached out to meet and confer on narrow expedited discovery. To avoid that

discovery and what it would show, two days later Luther filed an emergency motion for sanctions

and a stay, including because, he asserts, “discovery is decidedly unnecessary.” ECF No. 10

(“Luther’s Motion”) at 11.

       CesiumAstro agrees with the styling of Luther’s Motion as an emergency one. This issue

requires prompt attention. But contrary to Luther’s position, discovery is decidedly necessary.

The evidence recently uncovered—not because of Luther’s cooperation but in spite of his

filibustering—shows a risk of competitive harm to CesiumAstro if Luther and AnySignal continue

in their misconduct.

                                               2
          Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 4 of 13




II.   FACTUAL BACKGROUND

       A.      Luther’s employment at CesiumAstro and plot with AnySignal.

       CesiumAstro, a leader in communications solutions for the aerospace industry, employed

Luther as a sales and strategy executive. ECF No. 1 (the “Complaint”), ¶ 2. Luther admits that,

in that role, he accessed confidential, proprietary, and trade secret CesiumAstro materials. Id. ¶¶

2, 34–38; ECF No. 9 at 6, ¶ 34 (the “Verified Answer”). Luther further admits that he stored

company information on his iPhone. ECF No. 10 at 13 (the “Luther Declaration”), ¶¶ 10, 13.

       CesiumAstro granted Luther access to its information under a Proprietary Information and

Inventions Agreement with Luther (the “PIIA”). Compl. ¶ 23. Under the PIIA, Luther agreed to

protect and never disclose or misuse confidential company information, to return company

information upon termination of his employment, and not compete against the company for one

year after that date. Id. ¶¶ 23–33.

       B.      Luther                                         , resigns days later, and attempts
               to cover his tracks.

      Luther                                   on Friday, August 18, 2023. Plassio Decl. Exs. F,

G. In response to this lawsuit, Luther admits he had written communications with AnySignal and

a meeting with its CEO, John Malsbury (a former colleague of Luther), in August 2023. Luther

Decl. ¶ 15. Luther admits that during the same time—indeed, the same day

                —he accessed numerous CesiumAstro files, claiming it was to “quickly complete

outstanding tasks.” Luther Decl. ¶ 6. He does not specify the nature of his work. Id.

      The following Monday, August 21, 2023, Luther resigned. Id. His resignation letter asked

for release from his PIIA non-compete obligations based on his competitive “plan to stay involved

in the industry.” Compl. ¶ 42. Luther admits that he made this request, which CesiumAstro

rejected. Id.; Luther Decl. ¶ 8. But he contradicts the very nature of that request by suggesting



                                                3
           Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 5 of 13




that, even just days after                                  , he “did not seriously consider going

to work for a competitor.” Id. And on his final day at the company, he took several actions to

misappropriate CesiumAstro’s materials, violate its contractual rights, and spoliate evidence:

       •    Luther admits he reset to factory settings a company iPad before returning it. Id. ¶ 7.
            He claims he did so only to disassociate his Apple ID from the device. Id. But the
            facts prove otherwise, as there is no need to factory reset an iPad to accomplish this
            simple task. See Plassio Decl. Ex. H (Apple support page indicating that, when signing
            out of an Apple ID on a device, local data on the device “will be removed from your
            device unless you choose to keep a copy of that data when prompted” (emphasis added)
            and that a user has the opportunity to “[t]urn on the data that you want to keep a copy
            of on your device”).

       •    Luther admits he left his company laptop at home the day he resigned. Luther Decl. ¶
            7. Luther made this convenient mistake despite suspecting that he would be “walked
            out” of the office the day of his resignation. Compl. ¶ 44.

       C.      Luther enters into the Protocol but violates its spirit and its terms.

      When CesiumAstro demanded that Luther simply return all company property in his

possession, Luther attempted to condition his agreement on, among other things, a release of

liability for any wrongdoing. Compl. ¶ 62. After CesiumAstro refused, Luther did not quickly

agree to a process of remediation; he instead stalled. Id. ¶¶ 62–63. After months of back-and-

forth, Luther agreed to a limited Protocol, allowing only narrow and pre-screened documents to

be reviewed and remediated. Id. In it, Luther hid behind underinclusive search terms that still

managed to uncover his August 2023 communications with                                            .

Plassio Decl. Exs. F, G. In opposing this action, Luther testifies that “[a]ll of the emails I

exchanged with AnySignal have been turned over” under the Protocol. Luther Decl. ¶ 15. Again,

the facts prove otherwise. The last of his communications with AnySignal that he provided to

CesiumAstro, pursuant to the Protocol,                            . Plassio Decl. ¶ 10 & Exs. F, G.

But then Luther admits he had communications with AnySignal on at least August 20, 2023—

                               . Id.; Luther Decl. ¶ 15.



                                                 4
         Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 6 of 13




      Luther’s conduct in administering the Protocol continued his pattern of subterfuge. The

Protocol permits documents to be labeled AEO but mandates a good-faith discussion of requests

to downgrade those designations. Plassio Decl. Ex. D at 4–5. Luther proceeded to over-designate

and then refused to downgrade any AEO designations, preventing CesiumAstro’s counsel from

discussing the import of these documents with its client. Compl. ¶ 64 (referencing Ex. D-8 to

Luther’s Motion, ECF No. 10 at 97); Plassio Decl. ¶ 11. Luther has also failed to provide a

privilege log as required by the Protocol, suggesting there is a tranche of documents Luther is

withholding on baseless (and unlogged) claims of privilege. Luther’s Motion at 8.

      Further, the Protocol is more limited than the tailored (but necessary) discovery in this action

will be. Its limited search terms were aimed at remediating documents, not discovering evidence.

For example, it did not include “AnySignal” as a search term. Plassio Decl. Ex. D at 3–4. Nor

does the Protocol include an image of Luther’s personal phone, even though Luther now testifies

that he stored CesiumAstro information on this device. Id. at 1; Luther Decl. ¶¶ 10, 13.

       D.      Luther’s attempts to shut down discovery—formal or otherwise—continue
               after suit is filed.

      The day after filing suit, CesiumAstro sent Luther a letter asking to meet and confer on the

targeted discovery at issue here. Plassio Decl. Ex. E (March 26, 2024 Letter from Cope to

Brodrick). Counsel conferred the next day. Plassio Decl. ¶ 8. That evening, CesiumAstro asked

for a response to its proposal by March 29, 2024. Id. Luther’s counsel did not respond, id., and

instead filed an “emergency” motion for sanctions and for a stay. ECF No. 10 (Luther’s Motion).

       Meanwhile, Luther tried to rewrite the facts. The Complaint, filed on March 25, 2024,

noted that despite claiming to be employed by a small company called Saleae, Inc., Luther was not

listed on Saleae’s website. Compl. ¶ 40. This was true as of March 28, 2024. Plassio Decl. Ex I

(Saelae website as of March 28, 2024). Then, Luther scurried to cover his tracks, appearing on



                                                  5
          Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 7 of 13




Saleae’s site by March 29, 2024, but raising questions about his role with AnySignal and Saleae

before then. Plassio Ex. J (Saleae website as of March 29, 2024).

III. ARGUMENT

      Luther’s obstructive, unlawful actions necessitate expedited discovery. CesiumAstro seeks

a tailored set of five RFPs and six interrogatories. Copies of the written discovery CesiumAstro

seeks are attached. Plassio Decl. Exs. A, B. And because much of the key evidence to the PI

Motion would not be uncovered through written discovery—e.g., oral discussions between Luther

and AnySignal, and Luther’s spoilation of evidence—CesiumAstro also seeks permission to

depose Luther for a focused, half-day session. Plassio Decl. Ex. C.

       Federal Rules of Civil Procedure 34(b) and 26(d) allow expedited discovery. FMC Corp.

v. Varco Int’l, Inc., 677 F.2d 500, 501 (5th Cir. 1982); Quilling v. Funding Resource Grp., 227

F.3d 221, 233 (5th Cir. 2000). Courts permit expedited discovery upon a showing of good cause.

Accruent, LLC v. Short, 2017 WL 8811606, at *1 (W.D. Tex. Nov. 8, 2017) (Pitman, J.); see also

Intel Corp. v. Rais, 2019 WL 164958, at *7 (W.D. Tex. Jan. 10, 2019) (Pitman, J.). Good cause

exists if the need for expedited discovery “in consideration of the administration of justice”

outweighs any prejudice to the respondent. St. Louis Grp., Inc. v. Metals & Additives Corp., 275

F.R.D. 236, 240 (S.D. Tex. 2011). “In determining whether good cause exists, courts often

consider ‘(1) whether a preliminary injunction is pending; (2) the breadth of the discovery requests;

(3) the purpose for requesting the expedited discovery; (4) the burden on the defendants to comply

with the requests; and (5) how far in advance of the typical discovery process the request was

made.’” Accruent, LLC, WL 8811606, at *1 (quoting St. Louis Grp., 275 F.R.D. at 234 n.4). These

factors support CesiumAstro’s proposed expedited discovery.

       A.      Factor 1: CesiumAstro’s PI Motion will rely on the discovery sought.

       “Expedited discovery is particularly appropriate when a plaintiff seeks injunctive relief


                                                 6
         Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 8 of 13




because of the expedited nature of injunctive proceedings.” Ellsworth Assocs., Inc. v. United

States, 917 F. Supp. 841, 844 (D.D.C. 1996). This factor still supports granting this motion

because CesiumAstro intends to file its PI Motion immediately after expedited discovery

concludes. Thus, while no such motion is pending yet, CesiumAstro requests expedited discovery

so it can obtain and provide to the Court a more complete record of the targeted information at

issue in its forthcoming PI Motion.

       This discovery is necessary because of Luther’s repeated refusal to voluntarily provide this

information. Luther admits that he has provided no privilege log under the Protocol. Luther’s

Motion at 8. He admits that he has refused to address requests to remove the “AEO” designation

from documents provided under the Protocol. Id. He admits that he has wiped his company iPad.

Verified Answer ¶ 45. And he admits that USB devices that were plugged in to his work computer

are missing. Luther Decl. ¶ 14.

       Yet despite Luther’s roadblocks, CesiumAstro has still uncovered evidence supporting its

claims, as detailed above. With this information in hand and a more complete picture of Luther’s

and AnySignal’s wrongdoing emerging, CesiumAstro must act quickly to complete that picture

through expedited discovery. This expediency is especially warranted since Luther continues to

use and potentially overwrite data on his personal devices, such as his iPhone, which has not been

imaged. Luther Decl. ¶ 10, 13. Luther’s Motion literally admits this matter is an “emergency” in

attempting to cut off this expedited discovery by shutting down discovery altogether.

       B.      Factor 2: CesiumAstro’s discovery requests are narrowly tailored.

       CesiumAstro has narrowly tailored its requests to seek only evidence that is at issue in

CesiumAstro’s forthcoming PI Motion. CesiumAstro has further limited its requests to seek only

evidence that CesiumAstro expects to find in Luther’s possession based on the already-existing

evidence of wrongdoing that CesiumAstro has uncovered. The discovery sought covers the


                                                7
           Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 9 of 13




following two core topics on which CesiumAstro will move for preliminary injunction:

(1) Luther’s violation of his non-compete obligations through his interactions with a competitor,

and (2) Luther unlawful possession, disclosure, and use of CesiumAstro’s confidential information

and trade secrets. This factor favors a finding of good cause.

       C.      Factor 3: Facts central to the PI Motion are exclusively within Luther’s
               control, and CesiumAstro has real concerns about destruction of evidence.

       Allowing a party to gather evidence to support a preliminary injunction in trade secret

cases—as CesiumAstro seeks to do here—commonly justifies expedited discovery. See, e.g.,

Legacy of Life, Inc. v. Am. Donor Servs., Inc., 2006 WL 8435983, at *3 (W.D. Tex. Oct. 10, 2006);

PSS World Med. Inc. v. Fairchild, 2011 WL 13217506, at *2 (E.D. Tex. Feb. 3, 2011). The court

in Legacy of Life, for example, allowed expedited discovery “for the legitimate purpose of

preparing for a hearing on [the plaintiff’s] application for preliminary injunction and to prevent

any further misappropriation of its trade secrets.” 2006 WL 8435983, at *3. Likewise, in PSS

World Medical, the court granted expedited discovery needed to prepare for a hearing on whether

the responding party should be preliminarily enjoined from disclosing the movant’s confidential

information. 2011 WL 13217506, at *2.

       Courts are especially inclined to permit expedited discovery where, as here, the evidence

sought (1) is within the responding party’s exclusive control or (2) the requesting party has a

reasonable basis to fear that relevant evidence will be destroyed before it can be obtained under a

standard timeline. OrthoAccel Techs., 2016 WL 3747222, at *5. Both conditions are present here.

       First, key evidence of Luther’s handling of confidential information on personal devices

and communications with AnySignal is in Defendants’ sole control. As three examples:

       •    CesiumAstro is currently aware of four sets of devices that contain evidence of Luther’s
            unlawful acts. CesiumAstro controls only one set—Luther’s company laptop and
            desktop. The others are in Luther’s possession and only Luther can answer questions
            about them: (1) Luther admits he wiped his company iPad but he gives no indication


                                                 8
           Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 10 of 13




            of what information he spoliated, Luther Decl. ¶ 7; (2) Luther has not provided his
            personal iPhone for imaging, even though he admits he sent CesiumAstro’s proprietary
            information to it, id. ¶¶ 10, 13; (3) a number of USB drives were plugged in to Luther’s
            CesiumAstro laptop, and some are missing, id. ¶ 14.

       •    While Luther provided a narrow, attorney-crafted declaration of certain events, see
            Luther Declaration (ECF No. 10 at 13–20), he refuses to sit for a deposition. A
            deposition is critical here, not only to test Luther’s self-serving assertions (which, as
            demonstrated above, are often contradicted by the facts), but also because the only
            evidence of undocumented conversations and actions is oral testimony.

       •    Luther                             August 20, 2023 communications with AnySignal,
            despite testifying that he has provided all emails between him and AnySignal. Luther
            Decl. ¶ 15; Plassio Decl. ¶ 10. CesiumAstro is entitled to these communications and
            testimony about them, especially in light of their critical timing between the day Luther
                                                                             and his resignation from
            CesiumAstro on August 21, 2023.

       Second, CesiumAstro has a reasonable basis to fear the destruction of evidence because

some has already been destroyed. Luther admits that he reset to factory settings a company iPad

before returning it, spoliating evidence, Luther Decl. ¶ 7, and his proffered justification of

removing his Apple ID is false because an Apple ID can be removed from the device without

deleting data on the device. See Plassio Decl. Ex. H. Luther also admits that numerous USB

drives were plugged in to his CesiumAstro laptop, but some now are missing. Luther Decl. ¶ 14.

       D.      Factor 4: Expedited discovery will not unfairly burden Luther.

       CesiumAstro has minimized the burden to Luther by tailoring its discovery requests to seek

only the documents and information most essential to its PI Motion.            All the information

CesiumAstro seeks is within Luther’s control, requiring compliance from a single “custodian.” It

will require a straightforward production of predominantly electronic documents that were created,

at most, in the last year or two and, in many instances, the last several months. The deposition of

Luther will be limited to a half-day on the record. Nor will discovery regarding the few devices

of Luther’s that have not yet been imaged impose a burden. It would take less than one day and

cost between $1,000 and $2,000 to image Luther’s iPhone, for example. Plassio Decl. 16.


                                                  9
           Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 11 of 13




       E.      Factor 5: The timing of CesiumAstro’s requested discovery is consistent with
               a finding of good cause.

       CesiumAstro seeks an order providing for discovery and briefing on its PI Motion

according to the following schedule:

       •    Seven days from this Court’s Order, CesiumAstro may serve on Luther five RFPs and
            six interrogatories.

       •    14 days from this Court’s Order, Luther shall serve any objections to any RFPs and
            interrogatories.

       •    21 days from this Court’s Order, Luther shall serve initial disclosures pursuant to Fed.
            R. Civ. P. 26.

       •    30 days from this Court’s Order, Luther shall (a) serve written responses and objections
            to any interrogatories, and (b) complete his production of documents responsive to any
            RFPs.

       •    Within 7 days of his production, Luther shall serve a privilege log.

       •    Within 14 days of his production, CesiumAstro may depose Luther for no more than
            five hours on the record.

       •    14 days after the completion of any and all depositions contemplated by this Motion,
            CesiumAstro shall file any motion for preliminary injunction with supporting
            declarations. The briefing schedule for this motion shall be governed by Local Civil
            Rule 7-1.

       To seek preliminary injunctive relief, CesiumAstro cannot wait for discovery to be

performed in the ordinary course, and instead, must seek and obtain this narrow core of information

in an expedited manner to then quickly brief its injunctive requests to the Court. The timing of

this proposed schedule is reasonable and balances the slight burden of this expedited discovery

with CesiumAstro’s need to move swiftly to protect its intellectual property and contractual rights

through the PI Motion.

IV.   CONCLUSION

       The Court should grant CesiumAstro’s Motion for an Order Permitting Expedited

Discovery and Setting Briefing Schedule.


                                                 10
       Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 12 of 13



Dated: April 8, 2024                      Respectfully submitted,


                                          O’MELVENY & MYERS LLP

                                          /s/ Kristin C. Cope
                                          David S. Almeling (pro hac vice)
                                          dalmeling@omm.com
                                          Two Embarcadero Center
                                          28th Floor
                                          San Francisco, California 94111
                                          Telephone: +1 415 984 8700
                                          Facsimile: +1 415 984 8701

                                          Kristin C. Cope (pro hac vice)
                                          kcope@omm.com
                                          Patrick V. Plassio
                                          Texas Bar No. 24102362
                                          pplassio@omm.com
                                          2801 North Harwood Street, Suite 1600
                                          Dallas, Texas 75201
                                          Telephone: +1 972 360 1900
                                          Facsimile: +1 972 360 1901

                                          Attorneys for Plaintiff CesiumAstro, Inc.




                                     11
         Case 1:24-cv-00314-RP Document 14 Filed 04/08/24 Page 13 of 13




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on April 8, 2024. As Defendant AnySignal, Inc. has not yet been served or

appeared, Plaintiff CesiumAstro, Inc. will simultaneously serve a copy of this motion on

Defendant AnySignal, Inc. via its registered agent.

                                                      /s/ Patrick V. Plassio
                                                      Patrick V. Plassio

                             CERTIFICATE OF COMPLIANCE

       CesiumAstro’s counsel has complied with the substantive meet-and-confer requirement in

the Local Rules with respect to this motion with respect to Luther. Counsel for CesiumAstro

conferred by phone on March 27, 2024 and by email later that day. Counsel for Luther indicated

on the March 27, 2024 phone call that he would revert to counsel for CesiumAstro on his

opposition to this motion. Counsel for CesiumAstro followed up by email that day with a proposal

regarding certain terms relating to this motion, indicating that Luther’s failure to respond to this

proposal by the close of business on March 29, 2024 would indicate an opposition to this motion.

Luther failed to respond and instead filed that day his Emergency Request for Judicial Conference,

Motion to Stay, and Motion for Rule 11 Sanctions. ECF No. 10. Luther has since confirmed via

email that he opposes this Motion.

                                                      /s/ Patrick V. Plassio
                                                      Patrick V. Plassio




                                                12
